     Case 4:22-md-03047-YGR                 Document 1218         Filed 10/16/24    Page 1 of 4



 1    [Submitting Counsel on Signature Page]

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 8                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
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10
                                                                MDL No. 3047
11   IN RE: SOCIAL MEDIA ADOLESCENT
     ADDICTION/PERSONAL INJURY                                  Case No. 4:22-md-03047-YGR
12   PRODUCTS LIABILITY LITIGATION                                       4:23-cv-05448-YGR
                                                                         4:23-cv-05885-YGR
13   THIS DOCUMENT RELATES TO:                                           4:24-cv-00805-YGR
14   People of the State of California, et al.
        v.                                                      STATE ATTORNEYS GENERAL’S
15   Meta Platforms, Inc., Instagram, LLC, Meta                 OPPOSED ADMINISTRATIVE MOTION
     Payments, Inc., Meta Platforms Technologies,               TO SET HEARING ON MOTION FOR
16   LLC                                                        RELIEF
17   ----------------------------------------------------
                                                                Judge: Hon. Yvonne Gonzalez Rogers
18   Office of the Attorney General, State of Florida,
     Department of Legal Affairs                                Magistrate Judge: Hon. Peter H. Kang
19       v.
     Meta Platforms, Inc., Instagram, LLC., Meta
20   Payments, Inc.
21   ----------------------------------------------------
22   State of Montana, ex rel. Austin Knudsen,
     Attorney General
23       v.
     Meta Platforms, Inc., Instagram, LLC, Facebook
24   Holdings, LLC, Facebook Operations, LLC,
     Meta Payments, Inc., Meta Platforms
25   Technologies, LLC, Siculus, Inc.
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        STATE ATTORNEYS GENERAL’S OPPOSED ADMINISTRATIVE MOTION TO SET HEARING
                4:23-md-03047-YGR; 4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
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 1          Pursuant to Civil L.R. 7-11, the State Attorneys General (AGs) move this Court to set a

 2   hearing on the AGs’ Motion for Relief (Doc. 1168). As of October 4, briefing on the Motion is

 3   complete. See Response (Doc. 1181), Reply (Doc. 1194). In their Motion, the AGs requested oral

 4   argument collectively and on behalf of numerous individual State AGs. Doc. 1168, p. 4. Given

 5   the significant effect of the Order, a hearing on the motion is appropriate. Given the substantial

 6   burden the Order places on the AGs and non-party state agencies especially in light of Magistrate

 7   Judge Kang’s denial of the AGs’ motion for a stay (Doc. 1213), the AGs respectfully request a

 8   hard setting for this Motion on October 25—the next Case Management Conference.

 9   Alternatively, the AGs request a hearing date at the Court’s earliest convenience thereafter.

10   Because the AGs are subject to certain requirements to obtain approval for travel, the AGs

11   respectfully request at least 7 days’ notice, if the Court does not set the hearing for the next Case

12   Management Conference, to ensure all states who have requested argument can be in attendance.

13          The AGs note Meta opposes argument generally and specifically opposes setting

14   argument on October 25 because of a previously scheduled deposition in this case. But the

15   October 25 Case Management Conference was scheduled before the deposition was set.

16   Depositions will continue on most weekdays moving forward throughout the fact discovery

17   period (including on all Case Management Conference dates for the remainder of 2024). And all

18   parties have substantial legal teams working on this matter who can attend hearings and

19   depositions occurring on the same day. Accordingly, the deposition should not be a barrier to

20   hearing argument on this Motion at the October 25 Case Management Conference.

21

22    Dated: October 16, 2024                              Respectfully submitted,
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       STATE ATTORNEYS GENERAL’S OPPOSED ADMINISTRATIVE MOTION TO SET HEARING
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